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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF MINNESOTA

DAVID GREENLEY, Individually             Case No.: 0:16-cv-3773
and On Behalf of All Others
Similarly Situated,                      CLASS ACTION

          Plaintiff,                     COMPLAINT FOR DAMAGES
                                         AND INJUNCTIVE RELIEF
                   v.                    PURSUANT TO THE TELEPHONE
                                         CONSUMER PROTECTION ACT,
                                         47 U.S.C. § 227, ET SEQ.
LABORERS’ INTERNATIONAL
UNION OF NORTH AMERICA,
                                         JURY TRIAL DEMANDED
          Defendant.




                                  INTRODUCTION
  1. Plaintiff DAVID GREENLEY (“Plaintiff”) brings this Class Action
    Complaint for damages, injunctive relief, and any other available legal or
    equitable remedies, resulting from the illegal actions of Defendant
    LABORERS’ INTERNATIONAL UNION OF NORTH AMERICA
    (“Defendant” or “LIUNA”) in negligently and/or intentionally contacting
    Plaintiff on Plaintiff’s cellular telephone, in violation of the Telephone
    Consumer Protection Act, 47 U.S.C. § 227, et seq., (“TCPA”), thereby
    invading Plaintiff’s privacy.    Plaintiff alleges as follows upon personal
    knowledge as to himself and his own acts and experiences, and, as to all
    other matters, upon information and belief, including investigation
    conducted by his attorneys.
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2. The TCPA was designed to prevent calls like the ones described within this
   complaint, and to protect the privacy of citizens like Plaintiff. “Voluminous
   consumer complaints about abuses of telephone technology – for example,
   computerized calls dispatched to private homes – prompted Congress to pass
   the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
3. In enacting the TCPA, Congress intended to give consumers a choice as to
   how creditors and telemarketers may call them, and made specific findings
   that “[t]echnologies that might allow consumers to avoid receiving such
   calls are not universally available, are costly, are unlikely to be enforced, or
   place an inordinate burden on the consumer. TCPA, Pub.L. No. 102–243,
   § 11. Toward this end, Congress found that:
         [b]anning such automated or prerecorded telephone calls
         to the home, except when the receiving party consents to
         receiving the call or when such calls are necessary in an
         emergency situation affecting the health and safety of the
         consumer, is the only effective means of protecting
         telephone consumers from this nuisance and privacy
         invasion.
   Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012
   WL 3292838, at* 4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings
   on TCPA’s purpose).
4. Congress also specifically found that “the evidence presented to the
   Congress indicates that automated or prerecorded calls are a nuisance and an
   invasion of privacy, regardless of the type of call….” Id. at §§ 12-13. See
   also, Mims, 132 S. Ct. at 744.
                            JURISDICTION AND VENUE
5. This Court has federal question jurisdiction because this case arises out of
   violation of federal law. 47 U.S.C. § 227(b).
6. Venue is proper in this district pursuant to 28 U.S.C. § 1391 for the
   following reasons: (i) Plaintiff is a permanent resident the City of
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   Minneapolis, State of Minnesota which is within this judicial district; (ii) the
   conduct complained of herein occurred within this judicial district; and, (iii)
   many of the acts and transactions giving rise to this action occurred in this
   district because Defendant:
          (a)    is authorized to conduct business in this district and has
                 intentionally availed itself of the laws and markets within this
                 district;
          (b)    does substantial business within this district;
          (c)    is subject to personal jurisdiction in this district because it has
                 availed itself of the laws and markets within this district; and,
          (d)    the harm to Plaintiff occurred within this district.
                                    PARTIES
7. Plaintiff is, and at all times mentioned herein was, a citizen and resident of
   the City of Minneapolis, State of Minnesota. Plaintiff is, and at all times
   mentioned herein was, a “person” as defined by 47 U.S.C. § 153(39).
8. Plaintiff is informed and believes, and thereon alleges, that LIUNA is, and at
   all times mentioned herein was, an international labor organization,
   headquartered in Washington, D.C., and is a “person” as defined by 47
   U.S.C. § 153(39).
9. Plaintiff alleges that at all times relevant herein Defendant conducted
   business in the City of Minneapolis, State of Minnesota, and within this
   judicial district.
                             FACTUAL ALLEGATIONS
10. At no time did Plaintiff ever enter into a business relationship with
   Defendant.
11. On or about November 14, 2014, at approximately 6:33 PM CST, Defendant
   sent an automated and prerecorded message to Plaintiff’s cellular phone
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   number (612) 810-7226 (“7626”), using an “automatic telephone dialing
   system,” (“ATDS”) as defined by 47 U.S.C. § 227(a)(1) as prohibited by 47
   U.S.C. §227 (b)(1)(A), which it had initiated from telephone number 202-
   643-2915.
12. This telephone call was placed using an ATDS, as defined by 47 U.S.C. §
   227(a)(1), using an “artificial or prerecorded voice” as prohibited by 47
   U.S.C. § 227(b)(1)(A).
13. On or about October 16, 2015, Defendant sent multiple unsolicited text
   messages to Plaintiff’s cellular telephone number ending in “7626,” using an
   “automatic telephone dialing system,” (“ATDS”) as defined by 47 U.S.C. §
   227(a)(1) as prohibited by 47 U.S.C. §227 (b)(1)(A).
14. The first text message received read:

         Msg 2 of 2: Important matters include yr contract,
         benefits, union operations, political & legislative matters.
         Reply STOP to quit. Msg & data rates may apply.
15. The second text message received read:

         Msg 1 of 2: This confirms yr consent to receive msgs
         from LIUNA & affiliates including any autodialed call &
         txt msg about important matters Reply STOP to quit.

16. On or about March 16, 2016, Defendant sent a third unsolicited text message
   to Plaintiff’s cellular telephone, which message read:

         Msg from your union: Join us next week for Laborers
         Day @the Capitol. Reception Tues & meet w/legislators
         on Wed. Register at http://bit.ly/1psye0y


17. Plaintiff replied “STOP” to this text message.
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18. Subsequently, on or about March 16, 2016, Defendant sent an additional text
   message to Plaintiff’s cellular telephone, which message read:

         LIUNA: You have been removed from mobile alerts.

         Info: txt@mcom.ms

         Removed by mistake? Reply OOPS to rejoin.

19. Upon good faith information and belief, Defendant sent or transmitted, or
   had sent or transmitted on its behalf, the same or substantially the same
   unsolicited SPAM text messages and automated prerecorded messages en
   masse to thousands of wireless telephone numbers or randomly generated
   phone numbers.
20. Defendant used SMS short code 69866 to send the aforementioned
   unsolicited marketing text messages to Plaintiff’s cellular telephone.
21. According         to          the        webpage           located          at
   http://www.liunaactionnetwork.org/site/MessageViewer?em_id=7521.0,
   accessed on July 20, 2016, a person can “can text LIUNA to 69866 for text
   message updates from your union.”
22. Upon information and belief, the ATDS used by Defendant has the capacity
   to store or produce telephone numbers to be called, using a random or
   sequential number generator.
23. Upon information and belief, the ATDS used by Defendant also has the
   capacity to, and does, dial telephone numbers stored as a list or in a database
   without human intervention.
24. Defendant’s telephonic communications were not made for emergency
   purposes, as defined by 47 U.S.C. § 227(b)(1)(A)(i).
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25. Defendant’s telephonic communications were made to a telephone number
   assigned to a cellular telephone service for which Plaintiff incurs a charge
   for incoming calls and/or text messages pursuant to 47 U.S.C. § 227(b)(1).
26. The telephonic communications were unwanted by Plaintiff.
27. Defendant did not have prior express written consent to place the solicitation
   text messages and call to Plaintiff.
28. Through Defendant’s aforementioned conduct, Plaintiff suffered an invasion
   of a legally protected interest in privacy, which is specifically addressed and
   protected by the TCPA.
29. Plaintiff was personally affected by Defendant’s aforementioned conduct
   because Plaintiff was frustrated and distressed that, Defendant harassed
   Plaintiff with telephonic communications using an ATDS.
30. Defendant’s telephonic communications forced Plaintiff and other similarly
   situated class members to live without the utility of their cellular phones
   because they were occupied by calls or text messages, causing annoyance
   and lost time.
31. Plaintiff is informed and believes and here upon alleges, that the call and
   text messages were made by Defendant and/or Defendant’s agent(s), with
   Defendant’s permission, knowledge, control and for Defendants’ benefit.
32. The telephonic communications by Defendant, or its agent(s), violated 47
   U.S.C. § 227(b)(1)(A)(iii).
                         CLASS ACTION ALLEGATIONS
33. Plaintiff brings this action on behalf of himself and on behalf of all others
   similarly situated.
34. Plaintiff represents, and is a member of Class 1, consisting of:
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          All persons within the United States who received any
          text message from Defendant or its agent/s and/or
          employee/s, not sent for emergency purposes, to said
          person’s cellular telephone made through the use of any
          automatic telephone dialing system, including but not
          limited to text message/s from short message script
          69866, within the four years prior to the filing of this
          Complaint.

35. Plaintiff represents, and is a member of Class 2, consisting of:

          All persons within the United States who received any
          telephone call from Defendant or its agent/s and/or
          employee/s, not sent for emergency purposes, to said
          person’s cellular telephone made through the use of any
          automatic telephone dialing system and/or with an
          artificial or prerecorded message, within the four years
          prior to the filing of this Complaint.

36. Class 1 and Class 2 are collectively referred to as the “Classes.”
37. Defendant and its employees or agents are excluded from the Classes.
   Plaintiff does not know the number of members in the Class, but believes the
   members of the Classes number in the thousands, if not more. Thus, this
   matter should be certified as a Class action to assist in the expeditious
   litigation of this matter.
38. Plaintiff and members of the Classes were harmed by the acts of Defendant
   in at least the following ways: Defendant, either directly or through its
   agent(s), illegally contacted Plaintiff and the members of the Classes via
   their cellular telephones by using an ATDS and/or prerecorded voice,
   thereby causing Plaintiff and the Class members to incur certain cellular
   telephone charges or reduce cellular telephone time for which Plaintiff and
   the members of the Classes previously paid, and invading the privacy of said
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   Plaintiff and the members of the Classes. Plaintiff and the members of the
   Classes were damaged thereby.
39. This suit seeks only damages and injunctive relief for recovery of economic
   injury on behalf of the Classes, and it expressly is not intended to request
   any recovery for personal injury and claims related thereto.         Plaintiff
   reserves the right to expand the Class definitions to seek recovery on behalf
   of additional persons as warranted as facts are learned in further
   investigation and discovery.
40. The joinder of the members of the Classes is impractical and the disposition
   of their claims in the Class action will provide substantial benefits both to
   the parties and to the court. The Classes can be identified through
   Defendant’s records or Defendant’s agents’ records.
41. There is a well-defined community of interest in the questions of law and
   fact involved affecting the parties to be represented. The questions of law
   and fact to the Classes predominate over questions which may affect
   individual members of the Classes, including the following:
   a)    Whether, within the four years prior to the filing of this Complaint,
         Defendant or its agent(s) initiated any telephonic communications
         other than a message made for emergency purposes or made with the
         prior express consent of the called party) to members if the Classes
         using any automatic dialing system and/or prerecorded voice;
   b)    Whether Defendant can meet its burden of showing Defendant
         obtained prior express written consent;
   c)    Whether Defendant’s conduct was knowing and/or willful;
   d)    Whether Plaintiff and the members of the Classes were damaged
         thereby, and the extent of damages for such violation; and
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   e)    Whether Defendant and its agent(s) should be enjoined from engaging
         in such conduct in the future.
42. As a person that received at least one prerecorded telephone calls and text
   message from Defendant’s ATDS without Plaintiff’s prior express written
   consent, Plaintiff is asserting claims that are typical of the Classes. Plaintiff
   will fairly and adequately represent and protect the interests of the Class in
   that Plaintiff has no interests antagonistic to any member of the Classes.
43. Plaintiff and the members of the Classes have all suffered irreparable harm
   as a result of Defendant’s unlawful and wrongful conduct. Absent a class
   action, the Classes will continue to face the potential for irreparable harm.
   In addition, these violations of law will be allowed to proceed without
   remedy and Defendant will likely continue such illegal conduct. Because of
   the size of the individual Class member’s claims, few, if any, members of
   the Classes could afford to seek legal redress for the wrongs complained of
   herein.
44. Plaintiff has retained counsel experienced in handling class action claims
   and claims involving violations of the Telephone Consumer Protection Act.
45. A class action is a superior method for the fair and efficient adjudication of
   this controversy. Class-wide damages are essential to induce Defendant to
   comply with federal law.       The interest of members of the Classes in
   individually controlling the prosecution of separate claims against Defendant
   is small because the maximum statutory damages in an individual action for
   violation of privacy are minimal. Management of these claims is likely to
   present significantly fewer difficulties than those presented in many class
   claims.
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46. Defendants have acted on grounds generally applicable to the Classes,
   thereby making appropriate final injunctive relief and corresponding
   declaratory relief with respect to the Classes as a whole.
                          FIRST CAUSE OF ACTION
                    NEGLIGENT VIOLATIONS OF THE TCPA
                          47 U.S.C. § 227 ET SEQ.
47. Plaintiff incorporates by reference all of the above paragraphs of this
   Complaint as though fully stated herein.
48. The foregoing acts and omissions of Defendant constitute numerous and
   multiple negligent violations of the TCPA, including but not limited to each
   and every one of the above-cited provisions of 47 U.S.C. § 227, et seq.
49. As a result of Defendant’s negligent violations of 47 U.S.C. § 227, et seq.,
   Plaintiff and the Classes are entitled to an award of $500.00 in statutory
   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
50. Plaintiff and the Classes are also entitled to and seek injunctive relief
   prohibiting such conduct in the future.
                         SECOND CAUSE OF ACTION
         KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
                          47 U.S.C. § 227 ET SEQ.
51. Plaintiff incorporates by reference all of the above paragraphs of this
   Complaint as though fully stated herein.
52. The foregoing acts and omissions of Defendant constitute numerous and
   multiple knowing and/or willful violations of the TCPA, including but not
   limited to each and every one of the above-cited provisions of 47 U.S.C.
   § 227, et seq.
53. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
   § 227, et seq., Plaintiff and the Classes are entitled to an award of $1,500.00
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      in statutory damages, for each and every violation, pursuant to 47 U.S.C.
      § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
   54. Plaintiff and the Classes are also entitled to and seek injunctive relief
      prohibiting such conduct in the future.
                                 PRAYER FOR RELIEF
      WHEREFORE, Plaintiff and the Class Members pray for judgment against
Defendant as follows:
      • Certify the Classes as requested herein;
      • Appoint Plaintiff to serve as the Class Representative in this matter;
      • Appoint Plaintiff’s Counsel as Class Counsel in this matter;
      • Providing such further relief as may be just and proper.
In addition, Plaintiff and the members of the Classes pray for further judgment
against Defendant as follows:
            FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                        THE TCPA, 47 U.S.C. § 227 ET SEQ.
     • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
        Plaintiff seeks for himself and each Class member $500.00 in statutory
        damages, for each and every violation, pursuant to 47 U.S.C.
        § 227(b)(3)(B).
     • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
        conduct in the future.
     • Any other relief the Court may deem just and proper.
      SECOND CAUSE OF ACTION FOR KNOWING/WILLFUL VIOLATION OF
                        THE TCPA, 47 U.S.C. § 227 ET SEQ.
     • As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
        § 227(b)(1), Plaintiff seeks for himself and each Class member $1,500.00
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           in statutory damages, for each and every violation, pursuant to 47 U.S.C.
           § 227(b)(3)(B).
     • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
           conduct in the future.
     • Any other relief the Court may deem just and proper.
                                     TRIAL BY JURY
   55. Pursuant to the seventh amendment to the Constitution of the United States
         of America, Plaintiff is entitled to, and demands, a trial by jury.

Dated: October 31, 2016                        Respectfully submitted,

                                               BARRY & HELWIG, LLC

                                               By: s/Peter F. Barry
                                               Peter F. Barry, Esq.
                                               Attorney I.D. #0266577
                                               Patrick J. Helwig, Esq.
                                               Attorney I.D. #0391787
                                               2701 University Ave SE, Suite 209
                                               Minneapolis, Minnesota 55414-3236
                                               Telephone: (612) 379-8800
                                               Facsimile: (612) 379-8810
                                               pbarry@lawpoint.com

pfb/ra                                         Attorneys for Plaintiff
